                      Case 1:24-mj-00044-GMH Document 1 Filed 02/02/24 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                 United St.at.es of America                         )
                               V.                                   )
                                                                    )      Case No.
            KEVIN MICHAEL ALSTRUP
                                                                    )
                 DOB:XXXXXX                                         )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
            Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(l) - Entering and Remaining in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(2) - Disorderly and Disrnptive Conduct in a Restricted Building or Grounds;
        40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.



         This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.


                                                                                               Complainant's signature




Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.

Date:            02/1/2024
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                       G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
